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October 7, 2020

ALCarterNYSDChambers@nysd.uscourts.gov
The Honorable Andrew L. Carter
United States District Judge
Southern District of New York
40 Centre Street
New York, New York 10007
Re: — United States v. Henry Fermin
18 Cr. 659 (ALC)
Dear Judge Carter:

The above-referenced matter was transferred to your Honor following the sad
and untimely passing of the Honorable Deborah A. Batts.

This letter is respectfully submitted to request that Mr. Fermin’s sentencing be
further adjourned until a date and time convenient to your Honor in January 2021.
Counsel makes this request in the hopes that the courthouse will be back in action by
then, so that Mr. Fermin can be present in court for his sentencing. Counsel believes
the position that in-person sentencings best serve all parties and the ends of justice;
here, it seems particularly appropriate given that your Honor has yet to meet Mr.
Fermin.

The Court’s attention to this request is appreciated.
Respectfully submitted,
/s/
Susan G. Kellman

cc: Andrew Chan, Esq.
Asst. United States Attorney

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